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  NOT FOR PUBLICATION
                                    UNITED STATES DISTRICT COURT

                                          DISTRICT OF NEW JERSEY




   IN RE LIQUID ALUMINUM                         SULFATE                Civil Action No.: 16-rnd-2687 (JLL)
   ANTITRUST LITIGATION

                                                                                       OPINION
   This Docttment Relates to: Civ. Action Nos. 1 7-
   11416, 17-4656, ctnd 17-4659




   LINARES, Chief District Judge.

           This matter comes before the Court by way of Defendants Delta Chemical Corporation

   (“Delta Chemical”), John D. Besson, and Rebecca L. Besson’s Motion to Dismiss Plaintiffs

   Washington Suburban Sanitary Commission (“WSSC”), Mayor and City Council of Baltimore

   (“Baltimore City”), and City of Richmond (“Richrnond”)’s Amended Complaints (ECF Nos. 555,

   652, and 653) pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure and Strike Certain

   Allegations pursuant to Rule 12(f) of the Federal Rules of Civil Procedure. (ECF No. 901).

   Plaintiffs have submitted Opposition (ECF No. 902). to which the Defendants have replied. (ECF

   No. 904). The Court decides this matter without oral argument pursuant to Rule 78 of the Federal

   Rules of Civil Procedure. For the reasons set forth below, the Court denies Defendants’ Motion

   to Dismiss and Strike Certain Allegations.




     An additional copy of Plaintiffs’ Opposition was filed at a later time. (ECF No. 1002). Said Opposition is identical
   to the originally tiled brief Accordingly, the Court will rely on the arguments set forth by Plaintiff in their original
   Opposition. (ECF No. 902).
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                                                 I.     BACKGROUND2

           The Court has     set   forth, at length, the factual and procedural background as it            pertains to


   this Multidistrict Litigation in its Opinion dated July 20, 2017.                    (ECf No. 405 at 1-24).

   Accordingly, the Court need not restate, and hereby incorporates, same herein. Thus, the Court

   will only set forth the relevant factual and procedural background as it pertains to these specific

   Defendants and their motions.

           Plaintiffs brought this action seeking to recover monetary damages and injunctive relief

   against Delta Defendants for conspiring to suppress and eliminate competition in the sale and

   marketing of aluminum sulfate (“Alum”), pursuant to the Sherman Antitrust Act, 15 U.S.C.                        §   1,

   etseq., the Clayton Antitrust Act, 15 U.S.C.         § 12—17 & 29 U.S.C. § 52—53, and the laws of the
   State of Matyland. (Compi.        ]   1). Plaintiffs contend that Delta Defendants agreed       to “rig bids and

   allocate customers for, and to         fix.   stabilize, inflate, and maintain the price of Alum sold               to


   companies. mumcipal authorities, and governmental subdivisions in the United States from

   January 1. 1997 through at least February 2011              “   (Id.   ¶ 1). Specifically, Plaintiffs allege that
   Delta Defendants met to “discuss their respective Alum businesses,” agreed to “stay away’ from

   each other’s historical customers,” submitted “intentionally high,” or “throw away” bids, and

   withdrew winning bids “in cases where a bid was inadvertently submitted.” (Id.                 ¶ 4).
           Defendant John D. Besson is presently a resident of Miami Beach, Florida.                 (id.   ¶ 20). He
   was the president of Delta Chemical and “oversaw its sale and marketing of water treatment

   chemicals, including Alum,” in addition to “effectuating attempts” to sell or merge Delta Chemical




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    For purposes of brevity, the Court will only cite to the WSSC Amended Complaint whenever the WSSC. Baltimore
   City. andor Richmond Amended Complaints allege similar facts. Hence. this background is generally derived from
   Plaintiff WSSC’s Amended Complaint (“Cornpl.””). which was originally docketed in Civ. Action No. 17-11416.
   (ECF No. 1). The Court must accept the allegations therein as true at this stage of the proceedings. See Aiston i.
   Countiywide fin. Crnp., 585 F.3d 753, 758 (3d Cir, 2009).
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   with another   company.        (Id.     ¶   20).    Plaintiffs allege that Defendant John Besson joined,

   participated in, and benefitted from the unlawful [Alum] conspiracy.” (Ic!.                       ¶   20). Defendant

   Rebecca L. Besson is presently a resident of Miami Beach, Florida and was the chairperson of

   Delta Chemical’s board of directors. (Id.             ¶ 21).     Plaintiffs aver that Defendant Rebecca Besson

   “knew or should have known about the unlawful [Alum] conspiracy                        ...,   but allowed it continue

   and profited substantially from it.” (Id.          ¶ 21).   After Delta Chemical combined with USALCO in

   November 2011, Defendants John and Rebecca Besson became USALCO consultants. (Id.                                              ¶ 21).
          Defendant Delta Chemical is a Maryland corporation which sold Alum throughout the

   United States with a principal place of business in Baltimore. (Id.                ¶    51). Plaintiffs allege that

   “[firom the beginning of the Conspiracy Period to the date USALCO combined with Delta

   Chemical on November 17, 2011, Delta Chemical was an active participant in. and benefitted

   from, the conspiracy.” (Id.         ¶   51). Moreover, “[a]s a result of [Defendant] Delta Chemical’s

   combination with USALCO, [Defendant] Delta Chemical ceased to be a potential competitor in

   the sale and marketing of Alum.” (Id.              ¶ 51).   Plaintiffs contend that the combination “was made

   in furtherance of and intended to reinforce, the Defendant’s unlawful conspiracy.                     .   .   by increasing

   USALCO’s market power and eliminating the possibility of competition emerging                                 .   .   .   .“   (Id.   ¶
   52). Plaintiffs also argue that Defendants John and Rebecca Besson “profited handsomely” from

   the combination. (Id.     ¶ 53).
          Prior to the combination, Defendant Delta Chemical sold Alum to Plaintiffs WSSC and

   Baltimore directly as well as indirectly through C&E Services. Inc. (“C&E Services”), located in

   Washington. D.C. (Ed.      ¶ 54).       Plaintiffs assert that, Defendant Delta Chemical. C&E Services, or

   USALCO would always be the “winning” bidder despite solicitation of bids from outside Alum

   providers. (Id.   ¶   54’). Additionally. Plaintiffs allege that Defendant Delta Chemical’s contracts



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  for polyaluminum chloride (“PAC”) “raise similar concerns [of conspiratorial conduct].” (Id.                          ¶1
   131).   Specifically, Delta Chemical submitted the winning bid in a 2004 PAC contract with

  Plaintiff WSSC at a rate of $1,376.00 per ton. (Id.             ¶   131). In 2009, Defendant Delta Chemical

  again submitted a winning bid for a PAC with Plaintiff WSSC at a price of $2,380.00 per ton, a

  more than 72% increase. (Id.            ¶   131) (emphasis in original). The next lowest bid was submitted

  for $7,250.00 per ton (three times Defendant Delta Chemical’s winning bid) by Intercoastal

   Trading, Inc. (Id.    ¶   13 1).

           Plaintiffs WSSC and Baltimore City purchased Alum from Defendant Delta Chemical via

   “requirement contracts” at an as-needed basis from 1997 through early-2005. (Id.                      ¶   246). “for

   example, WSSC solicited bids for new Alum contracts to begin in 2003 and 2004.” (Id.                            ¶ 246).
   In both instances, Plaintiff WSSC received bids from Defendant Delta Chemical and General

   Chemical Corporation. (Id.         ¶   246). In 2004, Plaintiff WSSC “solicited bids for a new Alum

   contract” and C&E Services was the only bidder. (Id.                ¶{   247). Plaintiff WSSC alleges that, “as

   part of and in furtherance of the conspiracy,” C&E Services consistently raised the price it charged

   Plaintiff WSSC for Alum via the 2005 contract and, “[a]s a result, the price per ton of Alum

   increased by approximately 60%” from “$185.85 per ton to S314.00 per ton.” (Id.                           ¶   248). On

   December 23, 2008, C&E Services submitted a notification from Defendant Delta Chemical

  justifying an increase in Alum prices because of the “sulftiric acid market,” a necessary component

   for making Alum. (Id.        ¶ 249).   However. Plaintiff WSSC contends that this justification stood in

   contrast to a decline in the price of sulfuric acid “by more than a third” from its October 2008

   index price by December 2008. (Id.              ¶J   249) (emphasis in original). In 2009, Plaintiff WSSC

   solicited bids for a new Alum contract througti “BidBridge, an online solicitation and bidding


     Plaintiffs’ contention that Delta Defendants’ use of PAC contracts in furtherance of the conspiracy alleged herein is
   found solely in the WSSC Amended Complaint. (ECF No. 555 at 131).

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  platform,” btit    only   received three bids. (Id.   I   251). Defendant Delta Chemical submitted the

   winning bid at $304.00 per ton and C & S Chemicals, Inc. allegedly submitted a “throw away” bid

   of $537.00 per ton. (Id.     ¶ 251).
           After U$ALCO combined with Defendant Delta Chemical, USALCO raised the price it

   charged Plaintiff W$SC for Alum through the 2009 contract from $304.00 per ton to $311.50 per

   ton. (Id.   ¶ 252).   Plaintiff WSSC argues that the prices which USALCO charged for Alum were

   substantially similar to those charged by Defendant Delta Chemical prior to the combination and

   further demonstrate that “both [Defendant] Delta Chemical and USALCO were members of the

   conspiracy.” (Id.     ¶ 253).   In April 2014, Plaintiff WSSC received a bid for a new Alum contract

   from USALCO for $314.19 per ton and a bid from Chemtrade, General Chemical’s “successor-in

   intet-est,” for $422.00 per ton. (Id.   ¶ 254).   Plaintiff WSSC contends that “Chemtrade’s bid, which

   was $107.81 (34.3%) more than USALCO’s bid, was a ‘throw away’ bid made in furtherance of

   the conspiracy.” (Id. J 254).

           Plaintiff Baltimore City makes similar allegations against Delta Defendants regarding

   Alum contract bidding. In 2006, Plaintiff Baltimore City received two bids and Defendant Delta

   Chemical submitted the winning bid. (ECF No. 652 at ¶ 153). In 200$, Defendant Delta Chemical

   submitted “the oniy bid” for a new Alum contract with Plaintiff Baltimore City and provided a

   price of S2$0.97 per ton. (Id. ¶ 155—156) (emphasis in original). In 2009, Defendant Delta

   Chemical attempted to raise the price of Alum for Plaintiff Baltimore City by 29.7% due to an

   “increase in price of the raw materials used to make Alum.” (Id.        ¶   157—158). After negotiation,

   Defendant Delta Chemical agreed to increase the price by 23.1% and charge $345.97 per ton of

   Alum for 2009. (Id.      ¶   159—160). In 2012, Plaintiff Baltimore City received bids from USALCO




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   and General Chemical Corporation for a contract and U$ALCO was the                        winning         bidder.   (Id.   ¶1
   164).

           Plaintiffs contend that,   “[i]n    addition to the lack of competition and resultant inflated prices

   demonstrated above,” Delta Defendants’ “bidding history over the Conspiracy Period” with

   respect to Alum contracts was not “freight-logical.” (Compl.             255). Specifically, Plaintiffs allege

   that GEO Specialty Chemicals, Inc. had a water treatment chemical plant located in Baltimore,

   Maryland but never submitted a bid to supply Alum to Plaintiff WSSC. (Id.                         ¶ 255).       Similarly,

   USALCO was headquartered           in   Maryland but never submitted a bid to Plaintiff WSSC prior to

   combining with Defendant Delta Chemical. (Id.            ¶ 256).   Additionally, Southern lonics had a water

   treatment chemical plant in Williarnsport. Maryland and also never submitted a bid to Plaintiff

   Baltimore City. (ECF No. 652 at         ¶   168).

           “As a result of the conspiracy among [Delta] Defendants,” Plaintiffs were allegedly “forced

   to pay supra-competitive prices for Alum” which they purchased from Defendant Delta Chemical

   and USALCO. (Cornpl.        ¶   257. 260). Plaintiff WSSC saw its cost for Alum “quadruple over a

   decade, rising from $82.10 per ton in 2000 to $314.00 per ton by 2010.            .   .   .“   (Id.   ¶ 260).    Plaintiffs

   argue that Delta Defendants “used non-public means of communication                               .   .   .   to eliminate

   competition by, inter a/ia, fixing prices, rigging bids, and allocating customers for Alum in the

   United States.” (Id.   ¶   262). Plaintiffs further allege that Defendant John Besson made false

   representations regarding price increases in Alum due to increases in prices of raw materials. (Id.

   ¶   271—276).    Moreover, Delta Defendants allegedly “took additional affirmative acts of

   concealment, including ensuring that there were few written communications regarding their

   conspiracy and agreement.” (Id.         ¶ 279).




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            Accordingly, Plaintiffs assert the following claims: Count I               —   Conspiracy in Restraint of

   Trade in violation of the Sherman Act against all Defendants except Defendant Rebecca Besson;

   Count II   —   Conspiracy in Restraint of Trade in violation of the Maryland Antitrust Act against all

   Defendants except Defendant Rebecca Besson; Count III                      —   Common Law Fraud against all

   Defendants except Defendant Rebecca Besson; Count IV                  —   Breach of Contract against Defendant

   Delta Chemical; Count V        —   Breach of Contract against Defendant Delta Chemical; and, Count VI

   —   Restittttion, Disgorgement, and Unjust Enrichment against Delta Defendants
                                                                                                   .
                                                                                                       Defendants seek

   to dismiss Plaintiffs’ Amended Complaints for failure to state a claim upon which relief can be

   granted under Federal Rules of Civil Procedure 1 2(b)(6) ad/or to strike certain allegations from

   Plaintiffs’ Amended Complaints under Federal Rules of Civil Procedure 12(f). (ECF No. 901).

                                              II.        LEGAL STANDARD

   A. Rule 12(b)(6) Failure to State a Claim

            To withstand a motion to dismiss for failure to state a claim, a “complaint must contain

   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

   face.” Ashcroft v. Iqba!, 556 U.S. 662, 67$ (2009) (quoting Bell Ad. Coip. v. Twomblv, 550 U.S.

   544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that

   allows the court to draw the reasonable inference that the defendant is liable for the misconduct




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     Plaintiff Baltimore City asserts the following claims in its complaint against Delta Defendants: Claim I Conspiracy
                                                                                                             —




   in Restraint of Trade in violation of the Sherman Act against all Defendants: Claim II Conspiracy in Restraint of
                                                                                               —




   Trade in violation of the Maryland Antitrust Act against all Defendants: Claim III      —  Common Law fraud against
   Defendant Delta Chemical; Claim IV Breach of Contract against Defendant Delta Chemical; Claim V Breach of
                                          —
                                                                                                                 —




   Contract against Defendant Delta Chemical; and, Claim VI Restitution, Disgorgement, and Unjust Enrichment
                                                                   —




   against Defendant Delta Chemical. (ECF No. 652). Additionally, Plaintiff Richmond asserts the following claims in
   its complaint against Delta Defendants: Count I Conspiracy in Restraint of Trade in violation of the Sherman Act
                                                     —




   against all Defendants except Defendant Rebecca Besson; Count II— Conspiracy in Restraint of Trade in violation of
   the Virginia Antitrust Act, Va. Code Ann. 59.1-9.5 against all Defendants except Defendant Rebecca Besson: and,
   Count V Restitution, Disgorgement, and Unjust Enrichment against all Defendants. (ECF No. 653). As will be
            —




   further explained herein, the analysis for all these claims is nearly identical. Thus, the Court will analyze all claims
   jointly unless there is a substantive reason for a separate analysis.

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  alleged.” Id., 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). “The plausibility standard is   not


  akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant

  has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556).

          To determine the sufficiency of a complaint under Twomblv and Iqbal in the Third Circuit,

  the Court must take three steps. “First. it must ‘tak[e] note of the elements a plaintiff must plead

  to state a claim.’ Second, it should identify allegations that, ‘because they are no more than

   conclusions, are not entitled to the assumption of truth.’ Finally, ‘{w]hen there are well-pleaded

  factual allegations, a court should assume their veracity and then determine whether they plausibly

  give rise to an entitlement for relief.” See Connellv v. Lane Constr. Corp., $09 F.3d 780, 787 (3d

   Cir. 2016) (quoting Iqbal, 556 U.S. at 675, 679) (citations omitted).        “In   deciding a Rule

   l2(b)(6) motion, a court must consider only the complaint, exhibits attached to the complaint,

  matters of public record, as well as undisputedly authentic documents if the complainant’s claims

   are based upon these documents.” Mct’er v. Beflchick, 605 F.3d 223, 230 (3d Cir. 2010). The

  Third Circuit has held that the Court can review the record of prior actions between the parties and

  take judicial notice of the same in considering a motion to dismiss. See Toscano v. Comi. Gen.

  Life Ins. Co., 288 F. App’x 36, 38 (3d Cir. 2008).

  B. 12(1) Motion to Strike Certain Allegations

          Under Rule 1 2(f) of the Federal Rules of Civil Procedure, “[t]he Court may strike from a

  pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous

  matter.” Fed. R. Civ. P. 12(f). The Court may act either “on its own” or on a motion by a party. Id.

   at 12(f)(l)-(2). “The purpose of a motion to strike is to simplify the pleadings and save time and

   expense by excising from a plaintiffs complaint any redundant, immaterial, impertinent, or

   scandalous matter which will not have any possible bearing on the outcome of the



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   litigation.” Corradetti v. Sanitary Landfill, Inc., 912 F. Supp. 2d 156 (D.N.J 2012) (quoting

   Garlanger v. Verbeke, 223 F. Supp. 2d 596, 609 (D.N.J. 2002)). “[MJotions to strike are usually

   ‘viewed with disfavor’ and will generally ‘be denied unless the allegations have no possible

   relation to the controversy and may cause prejudice to one of the parties, or if the allegations

   confuse the issues.” Gray v. Bayer Corp., 2010 WL 1375329, at *2 (D.N.J. Mar. 31,2010) (citing

   Garlanger, 223 F. Supp. 2d at 609). In fact, “Rule 12(f) should be construed strictly against

   striking portions of the pleading on grounds of immateriality and if the motion is granted at all, the

   complaint should be pruned with care.” Morgan Home fashions, Inc. v. UTL US. Inc., 2004 WL

   1950370, at *8 (D.N.J. Feb. 9, 2004).

                                              III.   ANALYSIS

      A. i’Iotion to Dismiss

          For the following reasons, Delta Defendants’ Motion to Dismiss Plaintiffs’ Consolidated

   Complaint is denied.

              a. Conspiracy in Restraint of Trade in Violation of the Sherman Act

          To survive a motion to dismiss, Plaintiffs must prove two essential elements for a claim of

   conspiracy in restraint of trade in violation of the Sherman Act. Plaintiffs must show that (1) a

   “contract, combination, or conspiracy” existed and that (2) such contract, combination, or

   conspiracy “imposed an unreasonable restraint of trade.” Dickson v. Microsoft Corp., 309 F.3d

   193, 202 (4th Cir. 2002).

          Preliminarily, this Court has already found that, at least at the pleading stage, a conspiracy

   existed. (ECF No. 405 at 45-65). Additionally, in their Amended Complaints, Plaintiffs allege

   that Delta Defendants conspired to suppress and eliminate competition in the sale and marketing

   of Alum. (Compl.    ¶   1). Specifically, Plaintiffs allege that Delta Defendants agreed to “rig bids



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   and allocate customers for, and to fix, stabilize, inflate, and maintain the price of Alum sold to

   companies, municipal authorities, and governmental subdivisions in the United States from

   January 1, 1 997 through at least February 2011          (Id.   ¶ 1). Fttrtheimore, Plaintiffs allege
   Delta Defendants met to “discuss their respective Alum businesses,” agreed to “‘stay away’ from

   each other’s historical customers,” submitted “intentionally high,” or “throw away” bids, and

   withdrew winning bids “in cases where a bid was inadvertently submitted.” (Id.          ¶   4). These

   allegations are sufficient to support aprirnafacie claim Delta Defendants engaged in a conspiracy

   which imposed an unreasonable restraint on the trade of Alum in violation of the Sherman Act.

   Hence, the claim must survive Delta Defendants’ Motion to Dismiss.

              b. Conspiracy in Restraint of Trade in Violation of the Maryland Antitrust Act
                 and the Virginia Antitrust Act

          “Section l1—204(a)(1) of the Maryland Antitrust Act is the state law analogcte of Section

   I of the Sherman Act.” Merck-Medco Managed Care, Inc. v. Rite Aid Coip. 22 F. Supp. 2d 447,

   450 n.4 (D. Md. 199$). The purpose of the Maryland Antitrust Act is “to complement the body of

   the federal law goveniing restraints of trade.” Nat. Design, Inc. v. Rouse Co., 485 A.2d 663 (1983)

   (quotingMd. Code Ann.    § 11-202(a) (2005)). In construing the Act, “the courts [are to] be guided
   by the interpretation given by the federal courts to the various federal statutes dealing with the

   same or similar matters.” Nat. Design, Inc., 485 A.2d at 666; see also Berlyn Inc v. The Gazette

   Newspapers, 73 F. App’x 576, 582 (4th Cir. 2003).

          Similarly, “[t]he Virginia Antitrust Act, with the exception of an interstate commerce

   component, shares common elements with sections one and two of the Sherman Act.” Oksanen v.

   Page Mein ‘1 Hosp., 945 F.2d 696, 710 (4th Cir. 1991).          The Virginia Antitrust Act prohibits

   “[e]very contract, combination or conspiracy in restraint of trade or commerce.” Va. Code Ann.      §
   59.1—9.5 (1998),   and “[e]very conspiracy combination, or attempt to monopolize,                  or


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   monopolization of, trade or commerce.” Id. at    § 59.1—9.6. In fact, the Virginia Act specifically
   provides that it is to be “interpreted and applied in hai-mony with federal antitrust law.” Oksanen,

   945 F.2d at 710. Therefore, Plaintiffs’ claims under the Virginia Antitrust Act are “governed by

   the same standard as their claims under the Sherman Antitrust Act.” Va. Vermiculite, Ltd. v. WI?.

   Grace & Co.-Conn., 108 F. Supp. 2d 549, 605 (W.D. Va. 2000) (citing Satellite Television &

   Associated Res., Inc. v. cont’l cablevision of Va., Inc., 714 F.2d 351, 358 n.13 (4th Cir. 1983)).

   Consistent with the above guidance provided by the Fourth Circuit, this Court’s analysis for

   Plaintiffs’ claims under the Sherman Act must be applied to Plaintiffs’ antitrust claims under both

   Maryland and Virginia law. Because Plaintiffs claims pursuant to the Sherman Act are sufficient

   to survive Delta Defendants’ Motion to Dismiss, Plaintiffs’ claims under Maryland and Virginia

   state antitrust claims must also survive.

              c. Common Law Fraud

           Maryland’s Court of Appeals has summarized the elements of a cause of action for fraud

   or deceit, “[un order to recover damages in an action for fraud or deceit, a plaintiff must prove (1)

   that the defendant made a false representation to the plaintiff, (2) that its falsity was either known

   to the defendant or that the representation was made with reckless indifference as to its truth. (3)

   that the misrepresentation was made for the purpose of defrauding the plaintiffi (4) that the plaintiff

   relied on the misrepresentation and had the right to rely on it, and (5) that the plaintiff suffered

   compensable injury resulting from the misrepresentation.” Nails v. S & R, Inc., 639 A.2d 660, 668

   (Md. 1994) (internal citations omitted).     Similarly, to establish a claim of actual fraud under

   Virginia law, a plaintiff must prove that: (1) the defendant “falsely represented or deliberately did

   not disclose (when it had a duty to disclose); (2) a material fact; (3) intentionally and knowingly;

   (4) with intent to mislead; (5) on which the [Plaintiffi reasonably relied; and (6) which caused



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   damage to party misled.” A inland v. Deloitte & To ache LLP, 199 F. Supp. 2d 461, 486 (E.D. Va.

   2002) (citing Evaluation Research Coip. v. Alequin, 247 Va. 143 (Va. 1994)).

             Plaintiffs allege in their Amended Complaints that Delta Defendants “used deception,”

   “made a misrepresentation,” and “concealed, suppressed or omitted material facts in connection

   with the sale” of Alum. (Compi.          3 17). Specifically, Defendants allegedly “represented” that

   Alum prices were offered based on a “competitive market” while participating in an unlawful

   conspiracy to “inflict monetary harm” on Plaintiffs. (Id.     318, 322). For example, on December

   23, 2008, “[Defendant] John Besson, then-President of [Defendant] Delta Chemical represented

   that [it] would need to raise the price of Alum by $36.33 per ton” due to the “sulfuric acid market.”

   (Id.   ¶ 249, 272).   Similarly, on December 29, 2008, [Defendant] John Besson ernailed the Engineer

   Supervisor of Plaintiff Baltimore City and “represented that [Defendant] Delta Chemical would

   need to raise the price of Alum due to ‘a substantial increase in one of the raw materials that are

   used to make the aluminum sulfate.” (Id.       273). However, Plaintiffs contends that these changes

   were misrepresentations which stood in contrast to a decline in the price of sulfuric acid “by more

   than a third” from its October 2008 index price by December 2008. (Id.          ¶1   249) (emphasis in

   original).

             Plaintiffs’ allegations, when taken as true, support the claims that Delta Defendants

   knowingly misrepresented the price of Alum to Plaintiffs with the purpose of defrauding Plaintiffs

   and Plaintiffs reasonably relied upon Delta Defendants’ representation and stLffered a resulting

   compensable injury. Nails, 639 A.2d at 66$ (internal citations omitted). Similarly, Plaintiffs’

   allegations support Plaintiffs’ claims that Delta Defendants falsely and knowingly represented a

   material fact regarding price increases of Alum with intent to mislead Plaintiffs from the ongoing

   conspiracy and Plaintiffs reasonably relied on the representation which caused damages to



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   Plaintiffs. Therefore, at this juncture. Plaintiffs’ claims of common law fraud must survive Delta

   Defendants’ Motion to Dismiss.

              d. Breach of Contract against Defendant Delta ChemicaL

          Under Maryland law, the elements of a claim for breach of contract are “contractual

   obligation, breach, and damages.” Tucker v. SpecializeciLoan Servicing, LLC, 83 F. Supp. 3d 635,

   655 (D. Md. 2015) (quoting Kumar v. Dhanda, 17 A.3d 744, 749 (Md. Ct. Spec. App. 2011)). “In

   order to survive a motion to dismiss, a complaint for breach of contract {in Maryland] must allege

   facts showing a contractual obligation owed by the defendant to the plaintiff and a breach of that

   obligation by the defendant.” Swedish Civil Aviation Admin. v. Project Mgmt. Enters., Inc., 190

   F. Supp. 2d 785, 791 (D. Md. 2002) (citing Cont’! Masonn’ Co., Inc. v. Verde! Constr. Co.,

   Inc., 369 A.2d 566 (1977)). Likewise, “[for a breach of contract to be actionable [in Virginia], a

   party must establish a material breach.” Vienna Metro LLC v. Pidte Home Corp., 786 F. Supp. 2d

   1076, 1081 (E.D. Va. 2011) (citing Horton v. Horton, 487 S.E.2d 200, (Va. 1997)).

          The central dispute in this case with respect to the first breach of contract claim is whether

   Delta Chemical breached its contractual obligation to “only submit price increases that were based

   on changes in the contractor’s cost of services and materials.” (Compl.           ¶ 328).   Plaintiffs allege

   that Delta Defendants falsely represented increases in market prices of raw materials used to make

   aluminum sulfate as ajustification for increasing contract prices for Alum. (Id.        ¶ 272 -273).   These

   price increases allegedly stood in stark contrast to a “crash” in the market for sulfuric acid, a ratv

   material used to create Alum. (Id.   ¶ 275).   Moreover, prices for other raw materials used to make

   Alum had allegedly declined at the time of the price increase. (Id.         ¶   276). Plaintiffs assert that

   Delta Defendants made affirmative representations to prevent Plaintiffs from “discovering the

   actual reason for the artificially-inflated prices.”     (Id.   ¶   277).   Thus, at this juncture in the


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   proceedings, the Court finds that Plaintiffs have alleged sufficient facts to sustain their first set

   breach of contract claims under both Maryland and Virginia law.

          With respect to the second breach of contract claim, the major point of contention is

   whether Defendant Delta Chemical “breached their contractual agreements that they had not

   agreed, connived, or colluded to produce a deceptive show of competition and had not colluded

   with any other person, firm or corporation in the bid on the Alum contracts.”               (Id.   ¶   333).

   “Beginning at least as early as 2010, Plaintiff WS SC’ s Alum supply contracts incorporated terms

   specifying that the Bidder/Offeror[, i.e., Delta Defendants,] had not agreed, connived or colluded

   to produce a deceptive show of competition, and had not colluded with any other person, firm or

   corporation in the bid on the Alum contracts.” (Id. 1 332). Plaintiffs assert that “[a]fter USALCO

   and [Defendant] Delta Chemical combined in November 2011, USALCO was always the

   ‘winning’ bidder, having either combined or colluded with all viable competitors.” (Id.            ¶ 244).
   Additional examples provided by Plaintiffs of the alleged collusion include substantial similarity

   between Defendant Delta Chemical and USALCO’s bid prices for Alum afier their combination

   and alleged “throw away” bids by Cherntrade. (Id.     ¶1 252,   254). Plaintiffs also cite a lack of bids

   from “freight-logical” chemical plants such as GEO and Southern lonics. (ECF No. 652 at ¶ 16$).

   Hence, Plaintiffs have sufficiently alleged that there was a non-collusion component to their

   contract with Delta Defendants which was breached. such that their second set of breach of contract

   claims, under both Maryland and Virginia law, may proceed.

              e. Restitution, Disgorgement, and Unjust Enrichment

           In Maryland, to support a claim for unjust enrichment, “a Plaintiff must establish: (1) a

   benefit [was] conferred upon the defendant by the plaintiff (2) an appreciation or knowledge by

   the defendant of the benefit; and (3) the acceptance or retention by the defendant of the benefit



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   under such circumstances as to make it inequitable for the defendant to retain the benefit without

   the payilient of its value.’ S’i’edish CivilAviation Athnin., 190 F. Supp. 2d at 792—93. En Virginia.

   “[The] elements of a breach of contract action are (1) a legally enforceable obligation of a

   defendant to a plaintiff; (2) the defendant’s violation or breach of that obligation; and (3) injury or

   damage to the plaintiff caused by the breach of obligation.”        Ncnar,   Inc.   v. fed. Bits. Council. 784

   S.E.2d 296, 299 (Va. 2016) (quoting U/too v. QSP, Inc., 624 S.E.2d 43, 4$ (Va. 2006)).

          Plaintiffs assert that it would be “inequitable” for Delta Defendants “to be allowed to retain

   the benefits” they “obtained from their illegal agreements, manipulative acts, and other unlawful

   conduct” at the expense of Plaintiffs. (Compl.        337). Moreover, Plaintiffs aver that it would be

   equally inequitable for Defendants John Besson and Rebecca Besson to be “allowed to retain the

   millions of dollars that each personally received          ...   in connection with [Defendant] Delta

   Chemical’s combination with USALCO” because of its alleged connection to the aforementioned

   conspiracy. (Id.    338). As discussed above, Plaintiffs have sufficiently alleged facts pertaining

   to the contracts which they had made with Delta Defendants regarding agreed terms on non-

   collusion. (Id.    332). Moreover, Plaintiffs have set forth sufficient allegations and examples of

   Delta Defendants’ breach of these non-collusion contracts to show a violation. (Id. ¶ 333). Finally,

   Plaintiffs have shown that Delta Defendants’ alleged breach of these contracts, if true, would cause

   Plaintiffs significant economic injury. (Id.   ¶ 34 Id).   Therefore, the Court concludes that Plaintiffs’

   claims for unjust enrichment must survive Delta Defendants’ Motion to Dismiss.

      B. Motion to Strike Certain Allegations

          Delta Defendants ask the Court to strike the allegations contained in paragraph 131 of

   Plaintiff WSSC’s Amended Complaint regarding its purchase of PAC, on the basis that such

   allegations are “irrelevant to an Alum price fixing conspiracy” and “unsupported by the requisite



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   factual allegations.” (ECF No. 90 1-1, at 27). Delta Defendants maintain that because “PAC is not

   the subject of this litigation, and   no   prior price fixing scheme has been pled regarding PAC.” (Id.

   at 27). In sum, Delta Defendants argue that there is no basis of allegations of conspiracy regarding

   PAC and, “in any event,” these allegations are “not probative to the issues in this case relating to

   liquid Alum.” (ECf No. 904, at 11).

           On the other hand, Plaintiffs allege in their Amended Complaints that bids received for

   PAC raise “similar concerns” to the conspiracy regarding liquid Alum. (Compi.         ¶ 131). Plaintiffs
   provide examples of Delta Chemical “winning” PAC contracts in 2004 and 2009 at prices which

   increased by seventy-two percent over five years and explain that the next-lowest bid submitted

   on the 2009 contract   was   “more thaii three times” Defendant Delta Chemical’s winning bid. (Id.

   ¶ 13 1) (emphasis in original). Plaintiffs further argue that their allegations regarding PAC are
   “relevant to the [Defendants’] ability to conspire. and the history of conspiracy, in the water

   treatment chemical    industry.”   (ECF No. 902, at 2$). Plaintiffs note that USALCO “explicitly

   linked non-competition agreements with [Defendant] Delta on Alum and PAC.” (Id. at 28).

           “[M]otions to strike are usually ‘viewed with disfavor’ and will generally be denied unless

   the allegations have no possible relation to the controversy and may cause prejudice to one of the

   parties, or if the allegations confuse the issues.”         Gray. 2010 WL 1375329, at *2.       In fact,

   “Rule 1 2(f) should be construed strictly against striking portions of the pleading on grounds of

   immateriality and if the motion is granted at all, the complaint should be pruned with

   care.” Morgan Home fashions, Inc., 2004 WL 1950370, at *$                   When accepting Plaintiffs’

   allegations as true, a possible relation can be drawn between USALCO’s use of non-competition

   agreements with Defendant Delta Chemical on PAC in negotiations leading up to their




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   combination and Delta Chemical’s participation in the general liquid Alum conspiracy. (ECf No.

   902 at 2$).

          Moreover, even if the allegations “may ultimately prove to be immaterial,” they are not “so

   wholly impertinent or scandalous as to presently warrant the ‘drastic remedy’ authorized by Rule

   12(f). Once discovery is complete and the record more frilly developed, [Delta] Defendants will

   have the opportunity to renew any challenges they may have to the Plaintiffs’] allegations and/or

   evidence by way of an appropriate Rule 12(b)(6) motion, motion for summary judgment, or motion

   in limine.” Adams v. County ofErie, Pa., 2009 WL 4016636, at *1 (W.D. Pa. 2009). Thus, at this

   stage in the litigation, the Court must deny Delta Defendants’ Motion to Strike Certain Allegations.

                                        IV.     CONCLUSION

           for the aforementioned reasons, Delta Defendants’ Motion to Dismiss and Strike Certain

   allegations is denied. An appropriate Order accompanies this Opinion.




   Date: August /0 I $
                                                          JQE L. LINARES
                                                         ,g’hief Judge, United States District Court




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